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IN THE UNI'I'ED STATES DISTRICT COURT FH'ED BY...

 

FOR THE wEsTERN DISTRICT oF TENNESSEE D`C°
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cURTIs L. BYRD, JR., W'D U-"` 1" 1’:-?*`:`=’\.#1.'%$

Plaintiff,
vs. No. 04-2998-D/P
LESLIE I. BALLIN, et al.,

Defendants.

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ORDER DENYING PLAINTIFF’S MOTION FOR JUDGMENT ON THE PLEADINGS

 

Plaintiff Curtis L. Byrd, Jr. commenced this action by
filing a legal malpractice complaint in the Shelby County Circuit
Court, docket number CT*005216-04, on September 13, 2004 against
defendant Leslie I. Ballin, an attorney who represented Byrd in a
federal criminal prosecution arising out of this district. §e§ Notice
of Removal, Ex. A. On or about November 15, 2004, plaintiff filed an
amended complaint that, for the first time, added the National Bank
of Commerce (“NBC”) and three individuals, Sheila Burnett, Latoria
Johnson, and Patricia Cook, as defendants. §§§.Notice of Removal, Ex.
B. NBC was served with the amended complaint on November 19, 2004 and
removed. this action to federal court, pursuant to 28 U.S.C. §
l446(d), on December 9, 2004.

On December 13, 2004, plaintiff filed a document, entitled
“Application for Default Judgement Against Leslie I. Ballin,” which

purported to seek a summary judgment against Ballin because of ' -

Th!s document entered on the docket shea o ll
with Hule 58 and/or 79(a) FRCP on

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failure to appear and defend the action. On December 14, 2004, the
Clerk construed the filing as an application for entry of default
pursuant to Fed. R. Civ. P. 55(a) and, as so construed, denied the
application. On December 17, 2004, plaintiff filed an application for
entry of default pursuant to Fed. R. Civ. P. 55(a), accompanied by
a copy of the return of service on Ballin. The Clerk entered a
default against Ballin on December 20, 2004.

On December 22, 2004, defendant Ballin filed a motion,
pursuant to Fed. R. Civ. P. 55(c), to set aside the default,
accompanied by a memorandum of law in which Ballin asserted that he
has a meritorious defense to the action because the claim against him
is time barred.1 On December 28, 2004, plaintiff filed a motion for
judgment on the pleadings, pursuant to Fed. R. Civ. P. 12(c) that,
essentially, reiterates that he is entitled to summary judgment.2
Ballin has not responded to this motion, and the time for a response
has expired.

Pursuant to Fed. R. Civ. P. 12(c), “[a]fter the pleadings
are closed but within such time as not to delay the trial, any party
may move for judgment on the pleadings.” Ballin's motion pursuant to
Fed. R. Civ. P. 55(c) is not a “pleading,” see Fed. R. Civ. P. T(a),

and the pleadings in this case are not closed. Accordingly, plaintiff

 

1 In a separate order, the Court granted Ballin‘s motion to set aside
the default, That order did not address the merits of the plaintiff's claim
against Ballin or Ballin's statute of limitations defense.

” The plaintiff had previously filed a summary judgment motion on
December 13, 2004, which the Court denied in an order issued on February 4, 2005.

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is not entitled to seek judgment on the pleadings. Plaintiff's motion

is DENIED.

IT IS SO ORDERED this a?¢£ day of August, 2005.

RNICE . DONAL
UNITED STATES DISTRICT JUDGE

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 74 in
case 2:04-CV-02998 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

R. Scott McCullcugh

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

Van Davis Turner
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/1emphis7 TN 38103

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

CurtiS L. Byrd
1395 Worthington Circle
1\/1emphis7 TN 38114

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

